Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 1 of 42

EXHIBIT J
Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 2 of 42

i) Bank

America’s Most Convenient Bank”

LUXURY HAUS LEONIA LLC
361 MAPLE ST
MOONACHIE NJ 07074

STATEMENT OF ACCOUNT

Page: 1of3
Statement Period: Oct 10 2017-Oct 31 2017
Cust Ref #: 1 7-1 es

TD Business Convenience Plus
LUXURY HAUS LEONIA LLC

Primary Account #: ae

Account i:

ACCOUNT SUMMARY
Beginning Balance 0.00 Average Collected Balance 15,723.16
Deposits 34,667.35 Interest Earned This Period 0.00
Interest Paid Year-to-Date 0.00
Checks Paid 14,000.00 Annual Percentage Yield Earned 0.00%
Electronic Payments 3,230.14 Days in Period 22
Other Withdrawals 9,788.64
Ending Balance 7,648.57
DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE DESCRIPTION AMOUNT
10/10 DEPOSIT 27,667.35
10/19 DEPOSIT 7,000.00
_ _ 135 ____ Subtotal: 34,667.35
Checks Pald No. Checks: 2 "Indicates break in serial sey or check y and listed under Electronic Payments
DATE SERIAL NO, AMOUNT
10/16 98 4,000.00
10/18 99 10,000.00
satis sat Subtotal: 14,000.00
Electronic Payments
POSTING DATE DESCRIPTION AMOUNT
10/11 NONTD BALANCE INQUIRY, AUT 101117 pon BAL INQ 0.00
LITTLE FERRY_ EET LITTLE FERRY *
3
10/11 BAL INQ FEE 3.00
10/12 NONTD Pena INQUIRY, AUT 101217 DDA BAL INQ 0.00
PATERSON *NJ
i
10/12 BAL INQ FEE 3.00
10/13 ACH DEBIT, NORDSTROM PAYMENT Sa G 500.00
10/23 DEBIT CARD PURCHASE, AUT 102217 VISA DDA PUR 78.31
CHEESECAKE SHORTHILLS SHORTHILLS “NJ
ee
10/24 DEBIT CARD PURCHASE, AUT 102217 VISA DDA PUR 83.39

LYFT RIDESUN2PM LYFTCOM “CA
a 5

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Deposite FOIG Insured | TO Gank, HA. | Equal Housing Londor iy
Case 3:18-cv-01617-MEM Documenti1-11 Filed 08/16/18

How to Balance your Account

Begin by adjusting your account register

as follows:

Subtract any services charges shown
on this statement.

Subtract any automatic payments,
transfers or other electronic with-
drawals not previously recorded.

Add any interest earned if you have
an interest-bearing account.

Add any automatic deposit or
overdraft line of credit.

Review all withdrawals shown on this
statement and check them off in your
account register.

Follow instructions 2-5 to verify your
ending account balance.

Page 3 of 42

2of3

Page:

4, Your ending balance shown on this
statement is:

2. List below the amount of deposits or
credit transfers which do not appear
on this statement. Total the deposits
and enter on Line 2.

3. Subtotal by adding lines 1 and 2.

4. List below the total amount of
withdrawals that do not appear on
this statement. Total the withdrawals
and enter on Line 4.

5. Subtract Line 4 from 3, This adjusted
balance should equal your account
balance.

FOR CONSUMER ACCOUNTS ONLY

statement or write to:

TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,

Maine 04243-1377

We must haar fram you no later than sixty (60) calendar days afler we sent you the
first datement upon which the error or problem first appeared, When contacting the
Bank, please explain as clearly as you can why you belleve thane is an error or why

more information is needed, Please incude:
Your name and account number.

+ A deeciption of ina error or transaction you are unsure about.
The dollar amount and date of the suspected error.
When making a verbal inquiry, the Bank may ask thal you wend us your compésint in
cariting within ban {10} business days after tha firet tetaphone cal.

IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

If you need information about an electronic fund transfer or if you bellewe there a ar
eroron your bank slatement or receipt relating to an ebectronic fund transfer,
telophons the bank immediately at tha phone number listed on the front of your

FOR CONSUMER LOAN ACCOUNTSONLY BILLING RIGHTS
SUMMARY

In case of Errors of Questions About Your Bal:

Hf you think your bill is wrong, of if you meed more information about a transaction on
‘your bi, write us a1 P.O. Box 1377, Lewiston, Maine (4243-1377 as soon as
possible. We muat hear from you no later than sixty (60) days after we sent you the
FIRST bil on which lhe arrer or problem appeared. You can telephone ue, but doing
80 will not proserve your fights. In your letler, give us the following information:
- Your nama and account number.

‘Tha dollar amount of the suspected artor.

Describe the error and explain, # you can, why you belleve there is an armor,

Ifyou need more information, descrbe the Mem you are unaure about.
You do not hawe to pay any amount in quewion while we ara investigating, but you
are atill obligated to pay the parte of your bill that ae pat in question, While we
investigate your question, wo cannot report you @s delinquent or take any action to
collect the amount you question,
FINANCE CHARGES: Alilhough the Bank uses the Dally Balance method In calculate

ei alias rian tha finance change on your Moneylina/Overdral Protection account (the term "ODP"

‘We will your and

takes to complete our inveatigaton,
INTEREST NOTICE

Total interest credited by the Bank to you this year willbe reported by the Bank lo the
intemal Revenue Service and Stabe tax authonhes. The amount to be reported will be

reported separately to you by thea Bank,

1 ct any ector ©
than ton (10) business days to do this, we will credit your eccount for tha
amount you think is in error, so that you have the uae of the money during the time it

or “OY refers to Overdraft Protection), the Bank disctoaes lhe Average Daily Balance
on the periodic statement as an easier method for you to caloulste the finance
charge. The finance charge begins to accrue on the date advances and olher dabite
ara posted to your sccount and will continue unt the balance has bean paid in full,
To computa the finance charge, multiply the Average Daly Balance times. the Days in
Perod times tha Daly Periodic Rate (as lasted in the Account Summary section on
ihe fron! of the statenent), Tha Average Daily Balance is calculated by adding the
belance for each day of the bling cycle, then divding the total balance by the number
of Days in the Biling Cycle. The daily balance és the balence for the day after
advances have been added and paymenis of arediis have been sublraded plus or
minus any other that might dd that day. There isno grace
period during which no france charge accruss. Finance charge adjustments are
included in your total finance charges,

Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 4 of 42

fi) Bank

America’s Most Convenient Bank®

STATEMENT OF ACCOUNT

LUXURY HAUS LEONIA LLC
Page: 3of3
Statement Period: Oct. 10 2017-Oct 31 2017
Cust Ref #: 7 17-1 HE
Primary Account #: 682
DAILY ACCOUNT ACTIVITY | ee _
Electronic Payments (continued) _
POSTING DATE DESCRIPTION AMOUNT
10/30 DEBIT CARD PURCHASE, AUT 102817 VISA DDA PUR 1,500.00
PAYPAL _ALEXANDERDE 402 935 7733 "CA
523
10/30 DEBIT CARD PURCHASE, AUT 102917 VISA DDA PUR 725.08
STUBHUB INC 866 788 2482 *CA
523
10/30 DEBIT POS, AUT 102917 DDA PURCHASE 307.22
CVS PHARM 10289 215B FAIRVIEW ‘*NJ
23
10/30 DEBIT CARD PURCHASE, AUT 102917 ve DDA PUR 30.14
SQ TERITERI NORTH BERGEN *
a
_ - a Subtotal: 3,230.14
Other Withdrawals
POSTING DATE DESCRIPTION AMOUNT
10/10 DEPOSIT CORRECTION 61.29
10/12 DEP RETURN CHARGEBACK 328.48
10/12 DEP RETURN CHARGEBACK 148.49
10/12 DEP RETURN FEE 20.00
10/12 DEP RETURN FEE 20.00
10/13 DEP RETURN CHARGEBACK 1,690.38
10/13 DEP RETURN FEE 20.00
10/24 DEBIT 5,000.00
10/26 DEBIT 2,500.00
Subtotal: 9,788.64
DAILY BALANCE SUMMARY - _
DATE BALANCE DATE BALANCE
10/10 0.00 10/18 10,872.71
10/10 27,606.06 10/19 17,872.71
10/11 27,603.06 10/23 17,794.40
10/12 27,083.09 10/24 42,711.01
10/13 24,872.71 10/26 40,211.01
10/16 20,872.71 10/30 7,648.57

Cail 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Deposits FOIG insured | TD Bank, 4.A. | Equal Housing Lender ia
Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 5 of 42
Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 6 of 42

h) Bank

1of4

17-1 Ht

America’s Most Convenient Bank® T STATEMENT OF ACCOUNT
LUXURY HAUS LEONIA LLC Page:
361 MAPLE ST Statement Period: Nov 01 2017-Nov 30 2017
MOONACHIE NJ 07074 Cust Ref #:

Primary Account #:

TD Business Convenience Plus
LUXURY HAUS LEONIA LLC

2

Account # :::

ACCOUNT SUMMARY

Beginning Balance 7,648.57 Average Collected Balance

Deposits 2,205.75 Interest Earned This Period
Interest Paid Year-to-Date

Flectronic Payments 8,757.65 Annual Percentage Yield Earned

Other Withdrawals 105.00 Days in Period

Service Charges 2.00

Ending Balance

DAILY ACCOUNT ACTIVITY _

Deposits
POSTING DATE DESCRIPTION

14/20 DEPOSIT

Electronic Payments oe
POSTING DATE DESCRIPTION

11/01

11/01

11/02

11/06

11/06

11/06

11/08

11/10

DEBIT POS, AUT 103117 DDA PURCHASE
EDGEWATER *NJ

One CARD PURCHASE, AUT 102917 VISA DDA PUR
BERTS STEAKHOUSE NEW YORK “NY

DEBIT CARD PURCHASE, AUT 110117 VISA DDA PUR
ROBERT J ZAK CPAABV 201 3426622 *NJ

DEBIT CARD PURCHASE, AUT 110217 VISA DDA PUR
ROBERT J ZAK CPAABV 201 342 6622 * NJ

DEBIT CARD PURCHASE, AUT 110517 VISA DDA PUR
STUBHUB INC 866 788 2482 “CA

Dea CARD PURCHASE, AUT 110517 VISA DDA PUR
BHUB_INC 866 788 2482 * CA

DEBIT CARD PURCHASE, AUT 110617 VISA DDA PUR
HACKENSACK *NJ

DEBIT CARD PURCHASE, AUT eer pen DDA PUR
WORLD GYM FAIRVIEW *

Subtotal:

937.93
0.00
0.00

0.00%

30

AMOUNT
2,205.75
2,205.75

AMOUNT
599.64

245.00
3,000.00
2,703.08

659.00

248.10

4.00

84.43

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Ospoalts FOK neured | TO Bank, H.A. | Equal Housing Lander [iii
Case 3:18-cv-01617-MEM

How to Balance your Account

Begin by adjusting your account register
as follows:

Subtract any services charges shown
on this statement.

Subtract any automatic payments,
transfers or other electronic with-
drawals not previously recorded.

Add any interest eared if you have
an interest-bearing account.

Add any automatic deposit or
overdraft line of credit.

Review all withdrawals shown on this
statement and check them off in your
account register.

Follow instructions 2-5 to verify your
ending account balance.

Document 1-11 Filed 08/16/18 Page 7 of 42

2o0f4

Page:

1, Your ending balance shown on this
statement is:

List below the amount of deposits or
credit transfers which do not appear
on this statement. Total the deposits
and enter on Line 2.

ho

Subtotal by adding lines | and 2.

ee

. List below the total amount of
withdrawals that do not appear on
this statement. Total the withdrawals
and enter on Line 4,

. Subtract Line 4 from 3. This adjusted
balance should equal your account
balance.

wn

FOR CONSUMER ACCOUNTS ONLY __ IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

Wf you need information about an electronic fund tranefer or if you believe there a an
‘erroron your bank statement or rece¢pt refeting to an electronic fund transfer,
telephone the bank immediately at tha phane number listed on the front of your
etatamant or write tor

TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,
Maine 04242-1377
We must hear from you no tater than sucy (60) calandar days after we sant you the
first statoment upon which the enor or problem first appeared, When contacting the
Bank, planes axplaln as clearly as you can why you belleva there ia an error or why
more information is needed. Plaase incude:

+ Your name and aocount number.

A description of the error or transaction you are unsure abaut

* The dollar amount and date of the suspected anor.
When making & verbal inquiry, the Bank may ask that you send us your complaint in
writing within ten (10) business days after the first telephone cali,
We will investigate your complaint and will correct any error promptly. ifwe take more
Shan ten (10) business days to do this, we will credit your account forthe
amount you think is in error, go that you have the use of tha money during the time it
takes fo complate our investigation.
INTEREST NOTICE
Total interes! credited by the Bank to you this year will be reported by tha Bank fo the
Intamal Revenue Service and State tax authorities, The amount to be reported will be:
taparted separately fo you by the Bank

FOR CONSUMER LOAN ACCOUNTSONLY 8ILLING RIGHTS
SUMMARY

In cose of Emors or Gaeestions About Your Bill:

If you think your bill is wrong, or if you need more inf about a tr cflan on
your Kil, write ua at P.O. Box 1377, Lewiston, Maine 04243-1377 as.eoon as
possible. We must hear from you ne later than sixty (60) days after we semt you the
FIRST bilon which the enor or problem appeared. You cen ialephoane us, bid doing
80 Wil not prasefve your rights, In your latler, give us Ihe following information:

~ Your name and account number.

- ‘The dollar amount of the suspected anor.

> (Describe the error and explain, f you can, why you believe there ia an error.

Ifyou need mom information, describe the fem you are unsure about,

‘You do nol have to pay any amount in question while we are investigating, but you
are stil obligated to pay the parte of your bil that are not in question, While we
investigale your queation, report you af or lake any action tor
collect the amount you question,
FINANCE CHARGES: Afthough the Bark uses the Daily Balanca method to catculate
the finance charge on your Monayline/Overdral Protection sccount (the term “OOP™
or “O0* refers to Overdraft Protection), the Bank dischoees the Average Oeily Balanca
on the periodic statement as an easior mathod for you to calculate the finance
change. The finance charge begins to accrue on the date advances and olher debits
ero posted to your account and will continue wntl the balance haa been pald in full.
Te compute the finance charge, multiply tha Average Daily Balaneo limes tha Days in
Period times tha Daily Periodic Rete (ms listec! in the Accownl Summary section on
the front of the siatement). The Average Dally Balance is calculated by adding the
balance for each day of the billing cycia, then dividing the total balance by lie number
of Days in the Biting Cycle, The daily balance la the balance for the day aller
advances have boon added and payments or credtis have been subtracted plus or
minua any other adjustments that might have occurred thal day. There is mo grace
paricd during which no finance charge accrues. Finance charge adjustments are
included in your total Finance charge.

Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 8 of 42

ia): Bank

ica’s Most C ient Bank® STATEMENT OF ACCOUNT

LUXURY HAUS LEONIA LLC

Page: 3 of 4
Statement Period: Nov 01 2017-Nov 30 2077
Cust Ref #: 17-1 HE
Primary Account #: ss:
DAILY ACGOUN' IK ACTIVITY
Electronic Payments (continued)
POSTING DATE DESCRIPTION AMOUNT
113 NONTD ATM DEBIT, AUT 111217 DDA WITHDRAW 503.00
FAIRVIEW “NJ
W1N3 NONTO ATM DEBIT, AUT 111217 DDA WITHDRAW 203.00
FAIRVIEW FAIRVIEW “NJ
11N3 PURCHASE, AUT 111117 VISA DDA PUR 85.19
RIDGEFIELD *NJ
11/13 NONTD ATM FEE 3.00
113 NONTD ATM FEE 3.00
11/22 NONTD ATM DEBIT, AUT 112117 DDA WITHDRAW 304.00
nn NORTH BERGEN * NJ
11/22 NONTD ATM FE 3.00
11/28 DEBIT CARD ae AUT 112717 VISA DDA PUR 5.16
11/30 DEBIT CARD Leia AUT 112917 VISA DDA PUR 53.62
LYFT COM “*CA
41/30 ASE, AUT VAgB IT NGA DDA PUR 29.34
Le razors
41/30 D ASE, AUT 112917 VISA DDA PUR 22.09
_ Subtotal: 8,757.65
Other Withdrawals
POSTING DATE DESCRIPTION AMOUNT
11/14 OVERDRAFT PD 105.00
ie ieee a Subtotal: 105.00
Service Charges
POSTING DATE DESCRIPTION AMOUNT
11/30 PAPER STATEMENT FEE 2.00
Subtotal: 2.00

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or

Bank Deposits: FOIC Insured | TD Bank, W.A.{ Equal Housing Lander m

connect to www.tdbank.com
Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 9 of 42

i) Bank

America’s Most Convenient Bank® STATEMENT OF ACCOUNT
LUXURY HAUS LEONIA LLC
Page: 4of4
Statement Period: Nov 01 2017-Noev 30 2017
Cust Ref #: -
Primary Account #: 2

DAILY BALANCE SUMMARY _

DATE BALANCE DATE : BALANCE
10/31 7,648.57 11/43 -691.87
11/01 6,803.93 11/14 -796.87
41/02 3,803.93 47/20 1,408.88
11/06 193.75 41/22 1,101.88
11/08 189.75 11/28 1,096.72
11/10 105,32 11/30 989.67

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
Bank Depoelts FDIC inaured [1D Bank, M.A. | Equat Housing Lender em
i (2) Bank

America’s Most Convenient Bank*

LUXURY HAUS LEONIA LLC
361 MAPLE ST
MOONACHIE NJ 07074

TD Business Convenience Plus
LUXURY HAUS LEONIA LLC

STATEMENT OF ACCOUNT

Page: 1of3
Statement Period: Dec 01 2017-Dec 31 2017
Cust Ref #: 7-1 te
Primary Account #: 82

Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 10 of 42

Account # es2

ACCOUNT SUMMARY

Beginning Balance "989.67 Average Collected Balance 61.84
Interest Eamed This Period 0.00
Electronic Payments 1,087.72 Interest Paid Year-to-Date 0.00
Other Withdrawals 245.00 Annual Percentage Yield Earned 0.00%
Service Charges 27.00 Days in Period 31
Ending Balance -370.05
DAILY ACCOUNT ACTIVITY aie :
Electronic Payments
POSTING DATE DESCRIPTION AMOUNT
42/01 DEBIT CARD PURCHASE, AUT 112917 VISA DDA PUR 33.82
LYFT RIDE WED 9PM LYFTCOM “*CA
a
12/04 DEBIT CARD PURCHASE, AUT 113017 VISA DDA PUR 7.41
LYFT_ RIDE WED SPM LYFTCOM “CA
12/07 NONTD ATM DEBIT, AUT 120717 DDA WITHDRAW 503.00
LITTLE FERRY EET LITTLE FERRY *NJ
as
12/07 DEBIT POS, AUT 120717 DDA PURCHASE 23.96
WAL MART SUPER CENTER TETERBORO “NJ
12/07 NONTD ATM FEE 3.00
12/08 DEBIT CARD PURGHAGE, ll 120717 VISA DDA PUR 21.27
ETERBORO “NJ
12/11 NONTD BALANCE INQUIRY, AUT 120817 DDA BAL INQ 0.00
HACKENSACK *NJ
42/11 NONTD ATM DEBIT, AUT 120817 DBA WITHDRAW 363.00
HACKENSACK SR HACKENSACK * NJ
as
12/11 DEBIT CARD PURCHASE, AUT 120917 vies DDA PUR 26.25
LYFT RIDE SAT 10AM LYFTCOM *C
Laas Ta
12/11 DEBIT CARD PURCHASE, AUT 120817 VISA DDA PUR 20.28
LYFTCOM “CA
DEBIT CARD PURCHASE, AUT 120917 VISA DDA PUR §.00

12/11

LYFT CANCEL FEE LYFTCOM *CA

Cail 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Depoalts FONG Insured | TD Bank, N.A. | Equal Howelng Lender i
How to Balance your Account

Begin by adjusting your account register

as follows:

Subtract any services charges shown
on this statement.

Subtract any automatic payments,
transfers or other electronic with-
drawals not previously recorded.

Add any interest eamed if you have
an interest-bearing account.

Add any automatic deposit or
overdraft line of credit.

Review all withdrawals shown on this
statement and check them off in your
account register.

Follow instructions 2-5 to verify your

1

Me

i

o

Page:

Your ending balance shown on this
statement is:

List below the amount of deposits or
credit transfers which do not appear
on this statement. Total the deposits
and enter on Line 2.

Subtotal by adding lines | and 2.

List below the total amount of
withdrawals that do not appear on
this statement. Total the withdrawals
and enter on Line 4.

Subtract Line 4 from 3. This adjusted
balance should equal your account

Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 11 of 42

2of3

ending account balance. balance.

FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

ff you need information about an electronic fund transfer or if you believe there & an
enor on your bank statement or receipt relating to an electronic fund transfor,
telaphona tha bank immediately at the phone number listed on the frant of your
stalomort of write bo.

TD Bank, NLA. Deposit Operations Dept, P.O. Box 1377, Lewiston,
Maine 04243-1377
We must hear from you no later than sixty (60) calendar days aller wa sent you the
first statement upon which the error or problem first appeared. When contacting the
Bank, please explain as clearly as you can why you Oelleve there ie an error or why
more information la needed. Please inciude:

+ Your naene and account number.

 Adeacription of the error of transaction you are unsure about

+ Tha dollar amount and date of the suspected error.
When making a verbal inquiry, tho Bank may ask that you send us your complaint in
‘writing within tan (40) business days after the Grol telephone cal,
We will investigate your complaint and will comect any amor promptly. Hfwe take mare
than ten (10) business days to de this, wo will credit your account for the
‘amount you think is in error, 80 that you have the use of the money during Ihe time &
lakes fo complete our investigation.
INTEREST NOTICE
Total interest credited by the Bank to you this year will bo reported by the Bank fo tha
intemal Revenue Service and State tax authorities, The amount to bereported will ba
reported separately to you by the Bans,

FOR CONSUMER LOAN ACCOUNTS ONLY
SUMMARY
In case of Errors or Questions About Your Bill
Hf you think your bill is: wrong, of if you nood int fan about @ ion on
your bill, write us at P.O. Box 1377, Lewiston, Maine (4243-1377 as soon as
poselble. We must hear framyou no later than sixty (G0) days after wo sent you the
FIRST ball on which the eror or problem appeared. You can telephone us, but doing
so wall not preserve your rights. In your letter, give us the following information:

> Your name and account number,

+ The dollar amount of the suspected error.

+ Desoribe the enor end explain, if you can, why you believe there is an error

Wyou need more nlomnaliot, describe lie fem you are undure about,

You do net have to pay any amount in question while we are investigating, but you
are slill obligated to pay the parts of your bill that are not in question. While we
inealigate your question, we cannot report you as delinquent or take any action to
collect the amount you question.
FINANCE CHARGES: Afthough tha Bank uses the Daily Balance method to calculate
fhe finance charge on your Moneyline/Overdnft Protection account (the term “OOF
er “OD* referato Overdraft Protection}, the Bank discloses the Average Dally Balance
on the periodic elatemert a8 an easier method fer you lo calculate (he finance
charge. Tha finance charge beging ta accrue on the data advances and othar debits
are posted ho your aeoounl and will continue unlil the balanon has been paid in full,
To compute the finance charge, mulliply the Average Oaily Balance times the Daya in
Period times the Daily Ponodic Rate (as listed in the Accoun! Summary section on
tne front of the atatament), Tha Avaraga Daily Belanca is calculated by adding tho
bafance for each day of the billing cycte, than dividing the total balance by the number
of Days in the Billing Cycle, The cally balance |s the balance for the day alter
advances have been added and payments or crodi#s have been subtracted plus or
minus any other adjuetmenta that might have occurred that day. There fa mo grace
peviod during which no finance change accrues, Finance charge adjustments ara
included in your tetal finance charge.

BILLING RIGHTS

i) Bank

America’s Most Convenient Bank®

LUXURY HAUS LEONIA LLC

Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 12 of 42

STATEMENT OF ACCOUNT

Page: 3of3
Statement Period: “Dec 31 2017
Cust Ref #: 717-T Het
Primary Account #: ar
DAILY ACCOU NT AG TIVITY _ ee
Electronic Payments (continued)
POSTING DATE DESCRIPTION AMOUNT
42/14 BAL INQ FEE 3.00
12/11 NONTD ATM FEE 3.00
12/11 DEBIT CARD PURCHASE, AUT 120917 VISA DDA PUR 0.02
LYFTCOM “CA
12/18 DEBIT CARI E, AUT 121617 VISA DDA PUR 40.00
‘LYFTCOM ‘CA
12/18 DEBIT CARD PURCHASE, AUT 121617 VISA DDA PUR 10.99
12/18 DEBIT CARD PURCHASE, AUT 121717 e DDA PUR 8.49
LYFT RIDE SUN 12PM LYFT COM
a
12/9 DEBIT CARD PURCHASE, AUT 121717 ee DDA PUR 19.23
LYFT_ RIDE SUN 2PM LYFTCOM *C
1,087.72
Other Withdrawals
POSTING DATE DESCRIPTION AMOUNT
12/12 OVERDRAFT PD 105.00
12/19 OVERDRAFT PD 105.00
12/20 OVERDRAFT PD 35.00
245.00
Service Charges
POSTING DATE DESCRIPTION AMOUNT
12/29 MAINTENANCE FEE 25.00
12/29 PAPER STATEMENT FEE 2.00
27.00
DAILY BALANCE SUMMARY _ oe
DATE BALANCE DATE BALANCE
11/30 989.67 12/12 -128.34
12/01 955.85 12/18 -187,82
12/04 948.44 12/19 -308.05
42107 418.48 12/20 -343.05
12/08 397.21 12/29 -370.05
12/41 23.34

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Depoalte FOIC insured | TD Bank, NA. (| Equal Housing Lander a
Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 13 of 42
Bank

America’s Most Convenient Bank"

LUXURY HAUS LEONIA LLC
361 MAPLE ST

Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 14 of 42

STATEMENT OF ACCOUNT

1of2

Statement Period: Jan 01 2018-Jan 31 2018

MOONACHIE NJ 07074 Cust Ref #: 717-1 Hate
Primary Account #: 82
TD Business Convenience Plus
LUXURY HAUS LEONIA LLC Account # Ibes2
ACCOUNT SUMMARY i
Beginning Balance -370.05 Average Collected Balance -370.05
Interest Earned This Period 0.00
Service Charges 27.00 Interest Paid Year-to-Date 0.00
Ending Balance -397.05 Annual Percentage Yield Earned 0.00%
Days in Period 31
DAILY ACCOUNT ACTIVITY _ ee
Service Charges
POSTING DATE DESCRIPTION AMOUNT
01/31 MAINTENANCE FEE 25.00
01/31 PAPER STATEMENT FEE 2.00
Subtotal: 27.00
DAILY BALANCE SUMMARY a i
DATE Oe BALANCE DATE BALANCE
12/31 -370.05 01/31 -397.05

Cail 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Deposits FOIC Insured | TO Gank, NA. | Equal Housing Lender Bm
How to Balance your Account

Begin by adjusting your t regist
as follows:

Subtract any services charges shown
on this statement.

Subtract any automatic payments,
transfers or other electronic with-
drawals not previously recorded.

Add any interest eamed if you have
an interest-bearing account.

Add any automatic deposit or
overdraft line of credit.

Review all withdrawals shown on this
statement and check them off in your
account register.

Follow instructions 2-5 to verify your

4. Your ending balance shown on this
statement is:

2 List below the amount of deposits or
credit transfers which do not appear
on this statement, Total the deposits
and enter on Line 2.

3. Subtotal by adding lines | and 2.

4. List below the total amount of
withdrawals that do not appear on
this statement. Total the withdrawals
and enter on Line 4.

5. Subtract Line 4 from 3. This adjusted
balance should equal your account

Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 15 of 42

Page: 2of2

ending account balance. balance.

FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:
if you need information about an electronic fund traneter or if you baliave thore is an
error on your bani« slatement or receipt rataling to an aectronic fund tranafar,
telephone the bank immediately al he phone number listed on the front of your
statement or write to:
TO Bank, M.A, Deposit Operations Dept, P.O. Box 1377, Lewiston,
Maine 04243-1377
We must hear from you no later than sixty (60) cetandar days after we sent you the
firal atatement upon which the error or problem firs! appeared. When contacting the
Bank, please explain a clearly as you can why you believe there is an error or why
more information is needed, Please include:

« Your name and account number.

ie you are unsure about

oA the error or

+ Tha daflar amount and date ofthe suspected error
Whan making @ verbal inquiry, the Bank may ask that you sand us your complaint in
‘writing within ben (10) business daya afer the fire! telephone call,
‘We will investigate your complaint and will corect any error promptly, If we take more:
than ten (10) business days to da this, we will credit your account for the
amount you think ia in error, so that you have the use of the money during the time it
lakes to complete our investigation.
INTEREST NOTICE
Total interest credited by the Bank io you this year will be reported by the Bank to the
Intemat Revenue Service and State tax ies, The amount to ad wil be
reported separately to you by the Bank.

FOR CONSUMER LOAN ACCOUNTSONLY BILLING RIGHTS
UMMARY

In came of Errora or Questions About Your Bill:

IF you think your bal is wrong, or if you read more information about a lansaction on
your BIN, write ua at P.O. Box 1377, Lewiston, Maine 04243-1377 ag soon as
poesible. We must hear from you no later than sacty (60) days afer we sant you the
FIRST bit on which the enor or problem appeared. You can talaphone us, but doing
so will not preearve your rights. In your letter, give us the folowing Information:

- The dollar amount of the suspected error.
+ Describe the enor and explain, f you can, why you befleve thera is an error,
If you need more information, descritee the item you wre ungute abot

You do not have to pay any amount in question while we are investigating, bul you
are still obligated to pay the parte of your bill that are not in question While wo
investigate your question, we cannot report you as delinquent or take any action to
codec the amount you quasiion,
FINANCE CHARGES: Although the Bank uses the Daly Balance mathed to calculate
the finance charge on your Moneylina/Overdraft Protection account (the tarm “OOF
or "OD" refers to Overdraft Protection), tho Bank discioses tha Average Deity Balance
on the pariodic statement a3.an easier method for you ta calculate the finance
charge The finance charge bagine io accrue on the date advances and other debits
are posted fo your account and will continue wrtl the balancer fase besen pasiel in Full
To compute ihe finance change, multiply the Average Daily Balance times tha Days in
Period times the Daily Poriodic Rate (as listed in the Account Summary section on
the front of the atalament), The Average Daily Balance is caloulated by adding the
balance for each day of the billing cyce, then dividing the total balance by the number
of Days in the Billing Cycle. The dally balance & the balance forthe day afer
advances have been added and payrnents or credfia have boon subtracted plus or
minus any olher adjusimenta that might have occurred that day. There Is no grace
ported during which no finance change acctuss, Finance charge adjustments are
inciuded in your total finance charge,
Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 16 of 42

hie) Bank

America’s Most Convenient Bank" 0 STATEMENT OF ACCOUNT
LUXURY HAUS LEONIA LLC Page: 1 of 2
361 MAPLE ST Statement Period: za 122018
MOONACHIE NJ 07074 Cust Ref #: 17-0-###

Primary Account #: 2

TD Business Convenience Plus

LUXURY HAUS LEONIA LLC Account # a:
ACCOUNT SUMMARY - a
Beginning Balance -397.05 Average Collected Balance -363.96
Other Credits 397.05 Interest Earned This Period 0.00

Interest Paid Year-to-Date 0.00
Ending Balance 0.00 Annual Percentage Yield Earned 0.00%

Days in Period 11

DAILY ACCOUNT ACTIVITY
Other Credits

POSTING DATE DESCRIPTION AMOUNT

02/12 CREDIT-ACCT CLOSED, OD Chargeoff 397.05
ICH: PLS call our recovery dept at 800-354-9769

Subtotal: 397.05

DAILY BALANCE SUMMARY __ _

DATE BALANCE DATE BALANCE

01/31 -397.05 02/12 0.00

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Deposlie FDIC Insured | TO Bank, NA, | Equal Housing Lender en
Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 17 of 42

How to Balance your Account sar

Page:

Begin by adjusting your account register ; Your ending balance shown on this
as follows: statement is:

» Subtract any services charges shown

on this statement. 3. List below the amount of deposits or

credit transfers which do not appear

Subtract any automatic payments, on this statement. Total the deposits

transfers or other electronic with-
drawals not previously recorded.

Add any interest earned if you have
an interest-bearing account.

4, List below the total amount of
withdrawals that do not appear on
this statement. Total the withdrawals
and enter on Line 4.

Add any automatic deposit or
overdraft line of credit.

Review all withdrawals shown on this
statement and check them off in your
account register.

Follow instructions 2-5 to verify your

ending account balance. balance.

and enter on Line 2.

3, Subtotal by adding lines i and 2,

s. Subtract Line 4 from 3. This adjusted
balance should equal your account

FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

if you need Information about an electronic fund transfor or if you believe there is an
enor cn your bank statement of receipt relating to an electronic fund transfer,
telephone the bank immediately at tha phone number listed on tha front af your
‘Statement or wile to:

TD Bank, N.A, Deposit Operations Dept, P.O. Box 1377, Lewiston,
Maine 04243-1377
We must hear from you no ister than sixty (60) calendar days afer we sent you the
first atatement upon which the error.or problem first appeared. When contacting the
Bank, ploase explain as clearly aa you can why you believe there is an exer or why
more information is needed. Please include:

* Your name and account number.

> Adeecription of the error or transaction you ara unsure about,

- The dollar amount and date of the suspected error.
Whan making = verbal inquiry, the Bank may ask thel you send us your complaint in
writing veithin ten (10) business days afer the first telephone call
We will kwestigate your complsini and will correct any error promptly. If we take more
than ten (10) business days to do this, we will onedi your account for the
amount you think is in error, so that you have the use of the money during the ima it
‘takes to complete car investigation.
INTEREST NOTICE
Tolnt interest credited by the Blank to you this year wil be reported by the Bark to the
intemal Revenue Service ard State tax authorities. Tha amount to be reported will ba
repored separately to you by the Bank,

BILLING RIGHTS

FOR CONSUMER LOAN ACCOUNTS ONLY
SUMMARY
In casa of Errors of Questions About Your Bill:
If you think your bill le wrong, or if you need more information about a transaction on
your bil, write us a! P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
possible. We must hear from you no later than soty (60) days after we sent you the
FIRST bill on which the eor or problem appeared, ‘You can telephone ua, but doing
so will not preserve your fights. In your tetiar, give us the following information:

* ‘Your name and account number.

- The dollar amount of the suspecied error.

- Describe the enor and axplain, if you can, why you believe there is an efor.

IF you need more information, describe the fam you are unsure about.

You donot have to pay any amount in question while we are investigeling, but you
ae6 stil! obligated to pay the parts of your bill that are not in question, White we
investigate your question, wa cannot report you as delinquent or take any action lo
‘collect the amount you question,
FINANCE CHARGES: Ailhough the Bank uses the Daily Balance method to calculate
the finance charge on your Monoyline/(Overdraft Protection account (tha tom "ODP"
or"O0" refers to Gverdraf Protection), tha Bank discioses the Average Dally Balance
on the panodic saliement as an eosier method for you to calculate the france
ohare. The finance charge begins to aceve on he date advances and other debi
are posted to your account and vill continue unl the balance has bean paid in full
Te compute the finance charge, multiply the Average Dally Balance times the Days In
Period times the Daily Periodic Rate (as listed in the Accounl Summary section on
the front of the statement). The Average Daily Balance is calculated by adding the
balance for each day of the billing cycle, then dividing the total balance by the number
of Days In the Billing Cycis. The dally balance is the balance for the day after
advances have been sdded and OF onxtits have been sublracted plus or
minus any other adjustments that migh have occured thet day, There is.ina grace:
[pediod during which no finance charge accrues. Finance charge adjuslmenta are
included in your total finance change,
Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 18 of 42

Bank
America’s Most Convenient Bank® STATEMENT OF ACCOUNT

LUXURY HAUS LEONIA LLC Page: 1 of 2

361 MAPLE STREET Statement Period: 30 2016

MOONACHIE NJ 07074 Cust Ref #: 7L3~T tt

Primary Account #: mm:
TD Business Simple Checking
LUXURY HAUS LEONIA LLC Account # i:
ACCOUNT SUMMARY
Beginning Balance 0.00 Average Collected Balance 374,025.67
Deposits 836,400.90 Annual! Percentage Yield Earned 0.00%
Electronic Deposits 15,000.00 Days in Period 4
Ending Balance $51,400.90
DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE DESCRIPTION AMOUNT
9/27 DEPOSIT 125,000.00
9/27 DEPOSIT 72,900.90
9/28 DEPOSIT 250,000.00
9/29 DEPOSIT 285,000.00
9/29 DEPOSIT 100,000.00
9/29 DEPOSIT 3,500.00
Subtotal: 836,400.90
Electronic Deposits
POSTING DATE DESCRIPTION AMOUNT
9/30 ATM CHECK DEPOSIT, AUT 092916 ATM CHECK DEPOSI 15,000.00
225 MAIN ST LITTLE FERRY * NJ
Subtotal: 15,000.00

DAILY BALANCE SUMMARY
DATE BALANCE DATE. BALANCE
9/27 0.00 9/29 836,400.90
9/27 197,900.90 9/30 851,400.90
9/28 447,900.90

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Deposit’ FDIC insured | TD Bank, N.A_| Equal Housing Lender @
Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 19 of 42

How to Balance your Account Page: 2 of 2
Begin by adjusting your account register 1. Your ending balance shown on this
as follows: statement is: 851,400.90

« Subtract any services charges mews

on this statement. . List below the amount of deposits or

credit transfers which do not appear
on this statement. Total the deposits
and enter on Line 2.

« Subtract any automatic payments,
transfers or other electronic with-
drawals not previously recorded.

# Add any interest earned if you have 3, Subtotal by adding lines 1 and 2.

an interest-bearing account.
# Add any automatic deposit or “ oe Se enn or eae
overdraft line of credit. wit do not appear on pete ee
this statement. Total the withdrawals @
@ Review all withdrawals shown on this and enter on Line 4. Pte os
statement and check them off in your

account register. s, Subtract Line 4 from 3. This adjusted"
® Follow instructions 2-5 to verify your balance should equal your account gy
ending account balance. balance. i

DEPOSITS NOT DOLLARS CENTS WITHDRAWALS NOT DOLLARS CENTS WITHDRAWALS NOT DOLLARS CENTS
ON STATEMENT ON STATEMENT ON STATEMENT

‘Total
veo @ Wahicord lie

POR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:
Ifyou nead information about an @octonic fund ansfor or if you believe thove ts a
ono on your bunk slaloment or receipt relating to an eloctronie: fund tranaiecr,
tdophone the bank immediately at thephanc number listed om the front of your
statemers or weil tay.
TD Bank, N_A., Deposit Operations Dept, P.O, Box 1377, Lewiston,
Maine 04243-1377
We must hear from you no Ester than sixty (60) calondar days after we sent you the
fest Materment upon which the errer or problem first appeared. When contacting the
Barik, please cxplain as clearly as youcan why you beBeve there is ast error on why
Fe camreliet Phases well

© Your mame and account mumber.

A description of the error or i about

® The dollar acount and date of the suspocied ror,
‘When making a verbal inquiry, the Bank may ask that you send us your complaint in
writing within ten (10) business days after tho first telephone call,
Wewill investigaie your complain and will cormoct any amar prompily. we take
aor than ton (10) business days to do this, we will credit your account for dhe
aemount you thank is in cron, so thet you hae the uecof the money durang the time it
takes io comple oar investigation,
INTEREST NOTICE
Total intorest credited by the Bank to pou this year willl burcported by the Bak tw the
Interna! Reverae Scrvice and Suatctas authorities. The amount to be reported willl be
roparted separately to you by the Bank.

FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
SUMMARY
In case of Errors or Questions Aboul Wour Bill-
Lf you think your bill is wrong, or if you nead more information sbout a transaction on
your bill, write ws af PLO) Bow 1377, Lewiston, Maine 04243-1977 as soon as
possible. We must hear Gorm you no later than sixty (60) days sflor wo-sent you the
FIRST bill on which ihe eur or problem appeared. You can tdiophonc ws, but doing
50 will pol preserve your rights. la your letter, give us the Following iafoomation:

© Your name and account muraiber

® Thedollar amount of the paspociad error,

® Describe the cro and explain, if you can, why you beieve there is an ror.

If you necd mare
You do not have w pay any amound in question while we are investigating, but you
are still obligated to pay the parts of your bill thai are not in quesuon, Whike we
irrventignts your cpuosita, setecomed repoct jong a defined balk any acon ip
enllect the ammmant you question.
eee
ating Overdrall Protection account (die lone "ODP"

er "On" les tk Ceri Deaseabees Gob Rick dbaal tas Awtengp Daily Halaace
foe pe Se So ne a ee
charge ‘Tho fis and other debits,
see ceatid eyes isha ts ra xs ui bias ka spd
To-compuic the finance charge, svultiply the Average Daily Balance times Ue Days itt
Period times ihe Daily Periodic Rate (23 listed in dhe Account Sismmary sectlon on
ihe front of the siatomen’). The Average Daily Balance is calowabad by aking [be
balance for cach day off the billing cycle, Us
af Days in tho Billing Cycic Theil lance fs heb fr the day afer
advances ha P ereding have boun sub od pilus of
rials. any other adie tha maigh dibetday. Thorw is no graco:
period during whch ac fi charge Fi fang me
included a your total Finance:charge.

Bank

America’s Most Convenient Bank®

LUXURY HAUS LEONIA LLC
361 MAPLE STREET
MOONACHIE NIJ 07074

TD Business Premier Checking
LUXURY HAUS LEONIA LLC

Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 20 of 42

STATEMENT OF ACCOUNT

Page: lof3

Statement Period: 1312016

Cust Ref #; 19. T-4R

Primary Account #: 3
Account # me...

WE'RE CHANGING OUR BUSINESS CHECKING CASH DEPOSIT FEE
BEGINNING NOVEMBER 1, 2016, WE'RE [INCREASING OUR CASH DEPOSIT FEE FOR ALL BUSINESS DEPOSIT

ACCOUNTS FROM $0.15 TO $0.20 PER $100 CASH DEPOSITED IN EXCESS OF YOUR MONTHLY THRESHOLD.

QUESTIONS? CALL 1-888-751-9000 OR VISIT A LOCAL TD BANK.

ACCOUNT SUMMARY
Beginning Balance 851,400.90 Average Collected Balance 693,672.13
Deposits 125,422.20 Annual Percentage Yield Eamed 0.00%
Days in Period 31
Checks Paid 4,700.00
Other Withdrawals $68,257.71
Ending Balance 403,865.39
DAILY ACCOUNT ACTIVITY
sits
POSTING DATE DESCRIPTION AMOUNT
10/3 DEPOSIT 56,935.20
10/3 DEPOSIT 23,487.00
10/4 DEPOSIT 45,000.00
Subtotal: 125,422.20
Checks Paid No. Checks: break in serial ically and listed under Electronic Payments
DATE SERIAL NO. AMOUNT
10/24 98 4,700.00
Subtotal: 4,700.00
Other Withdrawals
POSTING DATE DESCRIPTION AMOUNT
10/3 DEBIT 9,500.00
10/12 DEBIT 69,000.00
10/13 DEBIT 43,000.00
10/17 DEBIT 150,000.00
10/18 DEBIT $8,700.00
10/19 DEBIT 163,016.71
10/21 DEBIT 25,000.00
10/21 DEBIT 13,676.00
10/26 DEBIT 27,400.00
10/28 DEBIT 8,965.00
Subtotal: 568,257.71
DAILY BALANCE SUMMARY
DATE BALANCE DATE BALANCE
9/30 851,400.90 10/3 922,323.10

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Deposits FDIC inrured | TD Bask, NA. | Equal Housing Lowler

@
Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 21 of 42

How to Balance your Account Page: 20f3

1. Your ending balance shown on this
statement is:

Begin by adjusting your account register

as follows: 405,865.39

@ Subtract any services charges shown
on this staternent.

« Subtract any automatic payments,
transfers or other electronic with-
drawals not previously recorded.

2 List beiow the amount of deposits or
credit transfers which do not appear
on this statement. Total the deposits
and enter on Line 2.

« Add any interest earned if you have 3 Subtotal by adding lines 1 and 2.
an interest-bearing account.

4. List below the total amount of
withdrawals that do not appear on
this statement. Total the withdrawals

@# Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your

account register. 5 Subtract Line 4 from 3. This adjusted

# Follow instructions 2-5 to verify your balance should equal your account
ending account balance. balance.

® Add any automatic deposit or
overdraft line of credit.

DEPOSITS NOT DOLLARS CENTS WITHDRAWALS NOT] BOLLARS CENTS WITHDRAWALS NOT[ DOLLARS CENTS
ON STATEMENT ON STATEMENT ON STATEMENT

i a Total
Total Deposits ° Withdrawals °

FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

If you oud infe aboul an docteonle: or if you beliewe there is an
Se ee ee eta ates
bor listed on the front of peur

statement or write to:

TD Bank, N.A., eee Operations Dept, P.O. Box 1377, Lewiston,
Maine 04243-1377

‘Wemaust hoar from you no later than sity (60) calenelar days after we sent you the

first suicment upon which the oror or problom firsy appeared, When comlacting the
Es, Plea Tesh Sy Ye alt 3 bare tem vn

® Your name and account numbor

® A description of the orvr or transaction you are ungure about

© Thedotlar amount and date of the suspected error,
Ser oat at Fa ee 9 ae
seis ane 10D peas ee the first telephone call
Wewill i i f will any cor prompély [Pwe uke
Men nialan iar te ecllota er oie
mount you think ts in omer, so that you harethe usc of he monoy during the time it
‘takis bo complete dur iivestipaiian.
INTEREST NOTICE

‘ese ae saa Fy te ae yo ya Hl ersten fhe Bal bis
Qoternal Reverie
roportcd a yet Bank.

FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
SUMMARY
bn cane of Exrors or Questions About Your Bill:
Ef you dhiak your billl is wrong, on if younood formation at ion on
your bill, write ws af P.O. Box 1377, Lewiston, Maine (4243-1377 as soon as.
possible. We myst hear from you no Letcr chan sixty (60) days after we sent youthe
FIRST bill. on which the oro or problem appeared. You can tolephome us, but doing,
so will nor preserve yoer mghis, On your fees, give us the following isformaetiorr

@ ‘Your namo and sccount tumber..

® Thedollac amount of the saspusted error,

@ Deserfbe the error snd explain, if you can, why you beliewethera i ae error.

Ifyou need more information, describe the item you are unsure about.

‘You do net have to pay any amount in question while we are bivestgating, bat you
ate si obligated wo patho parts of your ball chai aroma inquiacion, Whilewe
investigate your question, wo cannot roport you as dolinquent or take amy action to
enfioet the anoumd you question,
FINANCE CHARGES Alibough the Bank uies the Daily Balance methad io calculate
he fi charge on your Hina! Overdiall Protecting accu! (ube teria “ODP”
or" OD" refers to Overitrall Prolection), the Bank discloses the Average Daily Balance
on ihe pertodic falemeni ai an catler method for you 10 calculaie the finance:
charge. The finance charge begins 16 aocrac on the dale advances and oie debs
ee em nce a i ae Se ae a

Average Daily he Days in
Period tenes tho Daly Pere Reto (std in the Account Summary section on
the fora of th by nding the

ealanas reat dapat holding woe then dividing the talal balance by the number
of Days in the Billing Cyche The daily balance ix the balance for the day affer
ahvances have boat mbded and cots are

maraas any other adj that might b at ebay. Thareis no grace
ported during which no fiance charge scorucs. Finamoc charge edpeumoms are
inchuded in your tal flaance change.

Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 22 of 42

Bank

America’s Most Convenient Bank®

STATEMENT OF ACCOUNT
LUXURY HAUS LEONIA LLC Page: 3 of 3

Statement Period: 312016

Cust Ref #: 7 19-T HAH

Primary Account #; 73
DAILY BALANCE SUMMARY
DATE BALANCE DATE BALANCE
10/4 967,323.10 10/19 483,606.39
10/12 $98,323.10 10/21 444,930.39
10/13 855,323.10 10/24 440,230.39
10/17 705,323.10 10/26 412,830.39
10/18 646,623.10 10/28 403,865.39

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Deposits FDIC Insured ! TD Baik, N.A. | Equal Housing Landor tf
Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 23 of 42

i) Bank

America’s Most Convenient Bank®

LUXURY HAUS LEONIA LLC
361 MAPLE STREET
MOONACHIE NJ 07074

TD Business Premier Checking

STATEMENT OF ACCOUNT
Page: lof2

Statement Period: a 30 2016
Cust Ref #: 719-T tit

Primary Account #: a:

LUXURY HAUS LEONIA LLC

ACCOUNT SUMMARY

Beginning Balance 403,865.39 Average Collected Balance 347,937.90
Annual Percentage Yield Earned 0.00%

Other Withdrawals 100,964.75 Days in Period 30

Ending Balance 302,900.64

DAILY ACCOUNT ACTIVITY

Other Withdrawals

POSTING DATE DESCRIPTION AMOUNT

Li/2 DEBIT $,000.00

L149 DEBIT 58,064.75

1/15 DEBIT 4,900.00

11/28 DEBIT 30,000.00

Subtotal: 100,964.75

DAILY BALANCE SUMMARY

DATE BALANCE DATE BALANCE

10/31 403,865.39 VIS 332,900.64

112 395,865.39 11/28 302,900.64

119 337,800.64

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Deposits FOIC Insured | TO Bank. (NLA. | Equal Housing Lender (2
Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 24 of 42

2

a

How to Balance your Account

1. Your ending balance shown on this
statement is:

Begin by adjusting your account register
as follows:

Page: 20f2

6:

302,900.64

Subtract any services charges orm
on this statement.

Subtract any automatic payments,
transfers or other electronic with-
drawals not previously recorded.

Add any interest earned if you have 3.

an interest-bearing account.

4 List below the total amount of

Add any automatic deposit or
overdraft line of credit.

Review all withdrawals shown on this
statement and check them off in your

2, List below the amount of deposits or

ae tl
credit transfers which do not appear @

on this statement. Total the deposits gsi
and enter on Line 2. :

Subtotal by adding lines 1 and 2.

withdrawals that do not appear on ey
this statement. Total the withdrawals
and enter on Line 4.

account register. s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance. balance.
6 o
DEPOSITS NOT DOLLARS CENTS WITHGRAWALS NOT) DOLLARS CENTS WITHDRAWALS NOT DOLLARS CENTS:
ON STATEMENT ‘ON STATEMENT ‘ON STATEMENT
Total

Tatal Deposits = ri

wee Ge ts e er e

FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

Tf you eced information about an cloctronic fund wansfer ot if you believe there is an.
error en pour hank siaiemient or receipt relating to an electronic fund trmusfecs,
tdephone the bank immediately a the phone eumber listed on the font of your
slalom. oF write to:
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,
Maing 04243-1377
‘Wentast hear from yoa no later than tiny (60) calender days aflor we som you the
first statcmora upon which the oor ot problem first ‘When conacting the
SE ee hore i mn error or why
morc information if nooded Please lachade:

® Your namic and account mumber

BA the aroror be

® ‘Thedaller rnowal andl dubsé ie seapecaed eros
When making averbal inquiry, the Sank may ask that you ond us your epenplaant in
writhag weithia ten (10) business days afler the first telephone call.
‘Weewill invcutigate your complaint and will comoct any over promptly, [fee nike
more than ton (1M) business days. to do dhs, we-will credit your acount for the
amounl you think is in crrer, so thal you havetheuse of the money dunng the umeait
takes to complete our investigation.

INTEREST NOTICE

Total Siserontoe by te 8k pe thee Benepe iy te Eek Be
iviormnal Revenue §: will bo
eee renee Bank

FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
SUMMARY
in cawcod Errors or Questions Abou! Your Bill
Af you think your Inilis wrong. or if yoo mood more information about a transection on
goer bill, write ws af P.O, Bow 1377, Lewiston, Maine (4243-0077 as soon aa
possible Wermust bear fromm you rat later thart sinty (60) clays afler we seu you the
FIRST bill on which the error gt problere appeared. You can telephone us, but doing
60 will not presorve your rights, in your lemer, give us the following mformation:

® Your name and account number.

© Thedollar snount of the suspected error.

© Describe the over and explain, iF you can, why you believe these 1 am cror,

‘Uf you noed nove information, the foe you ano unsure absent
‘You do not have in pay any amount i question while we ane investigating, bel you
aroatil obligated po pay Uke paris of your bill that anceat in question. While-we
invesligalc your queation, we cansol report you as delinquent or take any action lo
collect the amount you quciticn,
EUNBARICE: CHARGES: bsoagh Ex ised pt ie Cally Rederiet! in ei bende
Proicotica accoura (the term “OOP*

or" OD" rele 1o Overdbalt Protection), the Bank discinact the Average Dally Balance
ss ang et oe Se TeIaTaer Pal eee
charge. The Gnance-ch d and othor details
cs als yr ect al il led cat Mr esc far Vesea pl
To compute the finance charge, multiply the Average Daily Balance times the Days in
Poriod times the Daily Periodic Rate (as listed in the Account Summary section on
the fon! ofthe statanert). The Aversge Dally Balance is calculajed by adding tho
balanwe fie cach day of the billing eye thon dividing the total balance by the nunuber
of Days in the Billing Cycle “The daily balance is hebalance for the day aller
advances have boon added and paymns or credits have boon subtracted plus.or
micas any othor adp ‘that might bu day. Thate is no prace
perk during whieh oo Fis: dj are
included in your otal finance charge.

Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 25 of 42

i) Bank

America’s Most Convenient Bank® T STATEMENT OF ACCOUNT
LUXURY HAUS LEONIA LLC Page: 1 of 2
361 MAPLE STREET Statement Period: ~Dec 31 2016
MOONACHIE NJ 07074 Cust Ref i: 19-T-#Ht#
Primary Account #; 73
TD Business Premier Checking
LUXURY HAUS LEONIA LLC Account ke:
ACCOUNT SUMMARY
Beginning Balance 302,900.64 Average Collected Balance 200,948.30
Annual Percentage Yield Earned 0.00%
Checks Paid 95,180.00 Days in Period 31
Other Withdrawals 153,551.09
Ending Balance 54,169.55
DAILY ACCOUNT ACTIVITY
Checks Paid No. Cheeks: 2 “Indicates break in ecrial or check d electronically and listed under Electronic Payments
DATE SERIAL NO. AMOUNT
12/23 99 73,800.00
12/21 100 21,380.00
Subtotal: 95,180.00
Other Withdrawals
POSTING DATE DESCRIFTION AMOUNT
12/1 DEBIT 50,000.00:
12/16 DEBIT 20,576,09
12/27 WIRE TRANSFER OUTGOING, Luxury House 50,000.00
12/27 WIRE TRANSFER FEE 25.00
12/28 DEBIT 32,950.00
Subtotal: 153,551.09
DAILY BALANCE SUMMARY
DATE BALANCE DATE BALANCE
11/30 302,900.64 12/23 137,144.55
12/1 252,900.64 12/27 87,119.55
12/16 232,324.55 12/28 54,169.55
12/21 210,944.55

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Deposits FDKC tesured (TD Bank, NLA. | Equal Housing Lander

@
Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 26 of 42

How to Balance your Account

1. Your ending balance shown on this o
statement is: 7

Page: 2of2

Begin by adjusting your account register

as follows: 05S

® Subtract any services charges shown
on this statement. 2 List below the amount of deposits or

credit transfers which do not appear
on this statement. Total the deposits
and enter on Line 2.

» Subtract any automatic payments,
transfers or other electronic with-
drawals not previously recorded.

@ Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.

4. List below the total amount of
. Peis ly malonate Cee ” withdrawals that do net appear on
this statement. Total the withdrawals

# Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your

account register. s. Subtract Line 4 from 3. This adjusted
® Follow instructions 2-5 to verify your balance should equal your account

ending account balance. balance.
_ arpa! ing in
8
DEPOSITS NOT DOLLARS CENTS. WITHDRAWALS NOT) DOLLARS CENTS WITHDRAWALS NOT) DOLLARS CENTS
‘ON STATEMENT ‘ON STATEMENT (ON STATEMENT
‘ Forai
Tidal Rreproaitt e Withdrawals °

TONS ABOUT YOUR ELECTRONIC FUNDS T
Ufyou need infoermatiee about an cloctromic fund traetfer or if you beliewe there is an
emoron your bark stideronl or receipt relating §0 an cloctrome fund transfer,
teephoap-the bank immodiatey at che phone number listed on dhe Brom of your
SatoRG OF write i.
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,
Maine 04243-1377
‘en fo Berm enka po. (60) cele ca afks  W 799
firit gatement upon which the avoror problem first appearod, When contacting the
Bank, please cxplain as cheatly as you can why you believe there is an orrer or wthy
more information is nouded Please include
. ‘Your nameand account number
Ad the

FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR
QUEST RANSFERS:

action you about
: The:dolar amount and date of the suspectod crror.

When making a verbal inquiry, the Bank may ask thal you send us your complains in

wriling within ton (10) besiness days after the first telephone call.

We will gate yar complaing ancl will any oro prompaly, 1fwe take

argc Maren Ct] Fedecas ner ets Ua see eal ei cee ore Te

amount you think is in ror, 20 thal you have the use of the money during the time it

lakes to complete our biwestigation,

INTEREST NOTICE

Total bmterest credited by the Bank io you this yor will boreporied by the Bank to the

Inertial Rewonae Service and Slatetex authoritics. The znourg wa be reported will be

reported soparatcly to you bythe Bank

FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
SUMMARY

Incase of Exrors of Questions About Your Bill:
Wypcna thank yout billl 19 wrong, of if y d igre ab om on
your bell, were ws a8 PUD, Box 1377, Lewiston, Maine (4243-1377 as soon os
possible, We mast bear from you to laber tham siaty (60) days afer we sont pou thee
FIRST Sil on which the oor or problem appeared, You can ilepbone us, bu doing
so will pol preserve your rights. in your lotier, give-us the following information

® ‘Your nene and sccoun! mumbc.,

® Thedollar amount of the suspected oer

€ Lees ties an Se Ses a betiewe there is am cxror

‘You de not haveto pay any amount in question while we ar iewestigating, but you
anrstill obligated to pay the pans of your bill that are not in question. While we
inveutigate your question, wt-cannod report you at delinquent or take any action wo
collect the amount you question.

FINANCE CHARGES:Abhough ihe Bank wees the Daily Baloo mathed to calculaic
dhe finance charge on your foneyling'Overdml Protection account (the tera “ODP"
or "OD" refers to Overall Prowetion), the Bank discloses the Average Daily Balance
onthe periodic surtement a6 an cation method (be you to caloulate the finance

charge: The finance change begins to accruc on the: daie advances and other obits
are posted lo your scoount and wll be id in Fall.
To compute the finance charge, multiply the Averge Daely Balance times the Days in
Porod times the Daily Ponodic Rate: (as listed in the Acoma! Summary section on
the font of ke sistement). The Average Daily Balances calculated by adding the
balance for cach day of therbilling cyclo, then dividing the total balance by the number
of Days inthe Billing Cycle Thedaily balance is the balance for the day afker
ahvence have boon addod and payments of cralits have bon subtract) plas or
furs any atber adjustments that angi hve eacanred tay cy: Thireis no grace
period during which na accrues, F ane
inciuded in your total finance change:

Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 27 of 42

Bank

America’s Most Convenient Bank® T STATEMENT OF ACCOUNT
LUXURY HAUS LEONIA LLC Page: 1 of 2
361 MAPLE STREET Statement Period: 312017
MOONACHIE NJ 07074 Cust Ref #: 19-T HHH
Primary Account #: 73
TD Business Premier Checking
LUXURY HAUS LEONIA LLC Account m-::
ACCOUNT SUMMARY
Beginning Balance 54,169.55 Average Collected Balance 41,370.82
Annual Percentage Yield Earned 0.00%
Other Withdrawals 28,340.04 Days in Period 31
Service Charges 30.00
Ending Balance 25,799.51
DAILY ACCOUNT ACTIVITY
Other Withdrawals
POSTING DATE DESCRIPTION AMOUNT
Vis DEBIT 28,340.04
Subtotal: 28,340.04
Service Charges
POSTING DATE DESCRIPTION AMOUNT
1/31 MAINTENANCE FEE 30.00
Subtotal: 30.00
DAILY BALANCE SUMMARY
DATE BALANCE DATE BALANCE
12/31 54,169.55 V3 25,799.51
W/18 25,829.51

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Doposits FDIC Insured | TD Bak, NA. ' Equal Housing Lender @

How to Balance your Account face

Begin by adjusting your account register
as follows:

Subtract any services charges shown
on this statement.

Subtract any automatic payments,
transfers or other electronic with-
drawals not previously recorded.

Add any interest earned if you have 3 Subtotal by adding lines 1 and 2.

an interest-bearing account.

4. List below the total amount of

Add any automatic deposit or

1. Your ending balance shown on this o
statement is: .

2 List below the amount of deposits or
credit transfers which do not appear oe
on this statement. Total the deposits yu, * '
and enter on Line 2. Er

25,799.51

Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 28 of 42

2 of 2

overdraft line of credit. withdrawals that do not appear on

this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register. s, Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance. balance.
oe
DEPOSITS NOT DOLLARS CENTS. WITHDRAWALS NOT] DOLLARS. CENTS WITHDRAWALS NOT) DOLLARS CENTS
‘ON STATEMENT ‘ON STATEMENT OM STATEMENT

Total

Total Deposits
rene cae oe a? |e

FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:
If pou need info fon sows act ch ic Rand transfer or if you bellows th mn
seror on yor bank statement of teocip relating w an eloctemnic fund) transfer,
lidephone the bank ummnectiately at the phone sutiber listed on the Gon of your
SUSAN OF whe io:

TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,
Maine 04243-1377

We rrast hear fom you to Later than shety (60) calendar days aller we sont you the

first statement upon which the error or problem first appeared When contacting the
Bank, please explain. as clearly a5 pou cam why you believe there is an erm or why

more information is nescet Please include:

; et an ne

é Tioddlisanadit tad his stibetapested oie
‘When making a verbal inquiry, pan ear gE Te ee ws nee eee
writing within fon (10) basimoss days after the first telephone call
Wewill investigale your avecoat ngs If wo take
mare than ten (10) business days to do dhis, we will credit your account for the
think ts in error. so thai you have the use of the money during the save it

Total interes: crodited by the Bank to you this year will be reported by the Bank to the
intemal Revonue Service and Statolax euthorilies. The amoung io be reported will be
Teported soparancly to you by the Bank.

FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
SUMMARY

In case of Exrors or Questigns About Your Bill:

Ifyou think your bill i werong, oF if you nood
oer bill, write us a1 PO, Box 1377, Lewis, Maine (4243-1377 as soon as
possible. src lana Seer pow a SB 2) A alter we ser you the
FIRST bill oa which the error or proble , but doting
50 will nog proserve your rights. th yor loo, ive ws the following information:

® Goeseafin (he erter ead explain, if you cam, why’ you betlovg (aera ij mm car
i
‘You de not haveto pay any amount in question while we are investigating, but post
ancadill obligates! w pay the parts of your bill thal are nod im qocsiion While we
invoarigane your quewion, we-camned repent. you as delinquent or take any action io
collect the emmoued you gucetion.
FINANCE CHARGES Althaigh ihe Bank uses the Daily Balance mathod to calculate
the france change on your MougylingOvardrall Protection accoum (the vans “ODP*
or "O10" refers to Overdrall Protection), the Bank discloses dhe Average Daily Balance
on the periodic siatemuont as ain easier macthed for you to calculaic the finance
charge. The finance charge begins 6 acerud on the date advances andl other debs
aire portend to your accord andl wall cosriumiec wont thie tradlaroeae buy Toc pic int fll
To compute tha finance chang, mulliply ihe Average Dally Balinese dimes the Days in
auedaead tetera icidcosiaen mie:
Daily calewaned by adding the
befor eth dy of bu lng hn vd th il bale by ana
cof Days 4 g Cycle. The daily bal th
advances have been added and paymene or credits hawe been subtracted plus or
mines any other ack that might h day. Thocis ao grace
included in your tout fines change.

Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 29 of 42

Bank

America's Most Convenient Bank® STATEMENT OF ACCOUNT
LUXURY HAUS LEONIA LLC Page: lof2
461 MAPLE STREET Statement Period: b 28 2017
MOONACHIE NI 07074 Cust Ref #: THe
Primary Account #: 73
TD Business Premier Checking
LUXURY HAUS LEONIA LLC Account 7:
ACCOUNT SUMMARY
Beginning Balance 25,799.51 Average Collected Balance 24,694.13
Annual Percentage Yield Earned 0.00%
Other Withdrawals 2,380.80 Days in Period 28
Service Charges 30,00
Ending Balance 23,388.71
DAILY ACCOUNT ACTIVITY
Other Withdrawals
POSTING DATE DESCRIPTION AMOUNT
2/16 DEBIT 2,380.80
Subtotal: 2,380.80
Service Charges
POSTING DATE DESCRIPTION AMOUNT
2/28 MAINTENANCE FEE 30.00
Subtotal: 30.00
DAILY BALANCE SUMMARY
DATE BALANCE DATE BALANCE
1/31 25,799.51 2/28 23,388.71
2/16 23,418.71

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Oepesits FDIC tenured TD Bank, N.A, | Equal Howsing Londo ea
Case 3:18-cv-01617-MEM Documenti1-11 Filed 08/16/18

How to Balance your Account

Page 30 of 42

Page: 2 of 2
Begin by adjusting your account register 1, Your ending balance shown on this
an ialows: statement is: 23,388.71
» Subtract any services charges shown
on this statement. 2 List below the amount of deposits or
Subtrect tomati s credit transfers which do not appear
@ Subtract any automatic payments. i i
transfers or other electronic with- on ie a a ine. copoeis
drawals not previously recorded. and enter on Line 2.
@ Add any interest earned if you have 3 Subtotal by adding lines 1 and 2.
an interest-bearing account.
: 4 List below the total amount of
. ee eee a withdrawals that do not appear on
this statement. Total the withdrawals
# Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register. s, Subtract Line 4 from 3. This adjusted
» Follow instructions 2-5 to verify your balance should equal your account
ending account balance. balance.
| eeeteenteatemiomemicteaiatoriateh
e
DEPOSITS MOT BOLLARS CENTS WITHDRAWALS NOT) DOLLARS CENTS. WITHDRAWALS NOT) DOLLARS CENTS
‘ON STATEMENT ON STATEMENT ON STATEMENT
Total
Total Deposits e eri dawdls °
FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: SUMMARY

Ifyou nocd information about an chectronic find transfer or if you believe there is an
error on your bank sdaberment of receipt relating bo am electrons Fund transfer,
telephone the bank teumcdimely at the phone number listed on the front of your
Statement or write la

TD Bank, N.A., Deposit Operations Dept, P.O, Box 1377, Lewiston,
Maine 04243-1377
‘We must hear from you no farer than siery (60) calender days aflor we sont you the
frat stakornont upon which the aror or problem first appeared. ‘When contacting the
Bank, please oxplain as clearly as you-can why you believe there is an. orror or why
move informauon it needed. Pleaseinclude:

© Your naw aad accoura member,

@ A description ofthe over or transaction you are unsure about.

® Thedollar amount and date of the suspected cror.
MAL 5 sont Wendin, i asi ier a rca et ge gle
‘writing within ton {10} business clays aller the fires iclephone call

i cur conplaim “ill any aor
more than ton (10) businces days to do-this, ccwill cede your scommant for chee
amount you think is in error, go that you have the use of the money churing the time it
lakes lo complete our wvestigalion
INTEREST NOTICE
Total ed cont be ti se ea rae Eee Onane te the
worn Revers Servier snd: Suite ax will be
reported pepenetcly to you by the Bank

fn case of Errors or Questions About Your Bill
Ffipou think: your bill ix wrong, or if pou nood formation about a On OY
your bill, welleua at PO. Bow 1577, Lewiston, Maine (4243-1977 as anon i
pouiblo, heap tear finan yop nee then aly) cage aller we sent you the
FIRST bill on which the aror of prable d. You can teleph bad doing,
20 will not preserve your rights. 1h your lescr, evous the following information:

® Your name and account muamaber.

‘Thedollar amount of ihe suspocted error

® Describ S expla . iT you can, why

Ifyou i you are

You do not huve to pay any amount in quostion while we are investigating, but you
ave still obligated to pay the paris of your bill thal arene in question, Whilewe
aiveitigate yor queition, we cannol report you as delinquent of wike any action to
eolloct the amowai you question.
FINANCE CHARGES Although the Rank uses the Daily Balancomothod to calculate
the finance change on your Moncyliny Overdraft Protection acoound (the bom “OOP
or "OD" refers to Overdraft Protection), the Bank discloses the Average Dally Balance:
on tho periodic staternont 23 an easier mathod for yon to calculsie the finance
charge. Tho finance charge begins to accrue om tho dato advances and other debits
are posted tp your account and will confines until ihe: balunec hes boon paid im full.
To compulc the finance change, muluply the Average Daily Balance times the Days in
Period times the Daily Periodic Rate (as listed in the Account Surmamary section on
the froet of thy The A is calculated by adeting the
‘balance for exch day of ducbilling cycle, then dividing the total balance by the manber
af Days inthe Billing Cyclo. The daily balance is tho balanoo for the day after
advances have been addod and paymonss or credits have boon subtracted plus or
mirnas atiy other iaclp that rradgghot bat that al ny. Theres mo grace
period during which no: fi ary Finance charge adh -
included im your 1otal finance charge:

& an coor

Bank

America’s Most Convenient Bank®

LUXURY HAUS LEONIA LLC
361 MAPLE STREET

STATEMENT OF ACCOUNT

Page:
Statement Period:

Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 31 of 42

MOONACHIE NJ 07074 Cust Ref #:
Primary Account #:
TD Business Premier Checking
LUXURY HAUS LEONIA LLC Account # a:
ACCOUNT SUMMARY
Beginning Balance 23,388.71 Average Collected Balance 4,514.51
Annual Percentage Yield Earned 0.00%
Other Withdrawals 23,300.00 Days in Period 31
Service Charges 30.00
Ending Balance 58.71
DAILY ACCOUNT ACTIVITY
Other Withdrawals
POSTING DATE DESCRIPTION AMOUNT
VI DEBIT 13,500.00
15 DEBIT 9,800.00
Subtotal: 23,300.00
Service Charges
POSTING DATE DESCRIPTION AMOUNT
3/31 MAINTENANCE FEE 30.00
Subtotal: 30.00
DAILY BALANCE SUMMARY
DATE BALANCE DATE BALANCE
2/28 23,388.71 WS 88.71
WI 9,888.71 3/31 58.71

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Deposits FDIC inswed TO Bark, MLA, | Equal Howing Lender

@
Case 3:18-cv-01617-MEM Document,1-11 Filed 08/16/18 Page 32 of 42

How to Balance your Account

Your ending balance shown on this

Begin by adjusting your account register 1.
a8 follows:

Subtract any services charges on
on this statement.

statement is:

Subtract any automatic payments,
transfers or other electronic with-
drawals not previously recorded.

Add any interest earned if you have 3.
an interest-bearing account.

List below the total amount of
withdrawals that do not appear on
this statement. Total the withdrawals

Add any automatic deposit or
overdraft line of cradit.

Review ail withdrawals shown on this

. List below the amount of deposits or
credit transfers which do not appear
on this statement. Total the deposits
and enter on Line 2.

Subtotal by adding lines 1 and 2.

2of2

‘ and enter on Line 4.
statement and check them off in your
account register. 5. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance. balance.
9
DEPOSITS NOT DOLLARS CENTS WITHDRAWALS NOT) DOLLARS CENTS WITHDRAWALS NOT] DOLLARS CENTS
ON STATEMENT ‘ON STATEMENT ON STATEMENT
Total
Total Deposits ‘Withdrawals
tte te Ap o

FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

If you wood ifoomation abowl an clectronic fund trace fer of if you believe there is an
error on your bank statement or rocerpt relating vo an electronic fund trens for,
I¢lophone the bank immediabay at the phone mumiber teed on ther front of your
Sako OP verte ho:

TD Bank, N_A., Deposit Operations Dept, P.O. Box 1377, Lewiston,
Maine 04243-3797
We must hear fom you no later than sixty (60) calonclar days after we sent you the
first slaicment upon which the error er problem fest appeared! When contacting the
Bank, please explain as closely as you can why you believe there is an error ar why
more information in necded, Please Include:

© Your name and account nember.

® Adescription ofthe aor of tamsection you are unsure abowl

® Thodollar amour and date of the suspooted oer.
Whon malang 2 verbal inquiry, he Bamk may aak that you send us your complunt on
webling within tor (10) beiiness days afler the first tdlephonc call,
We will investigate your complaint and will corm any urcor peampily. If'we uke
more thar ten (10) buriness days wo do thle, a ee aa ane
aonoued yeu thank is in error, a0 Het you hi ring th
takes to complote our investigation,
INTEREST NOTICE
“Coban ial ry the Bak (yo dey Ss cre ey Un
intemal Rewcnue Service and Siatelax authorities, The amouny to bo reported will be
reported sqparately to you by the Bank

FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
SUMMARY
In cane of Exons or Questions About Your Bilt
Df you think your bill is. wrong. or if you mood more information aboul a wansaction on
your bill, write as ai PO, Box 1777. Lewiston, Maine (04243-|377 as soon. as
possible. ‘We musi hear fom you no later than sixty (60) days afer we sem you the
FIRST bill on which the amor or problem appeared, You cam telephone us, bat dking
so-will not peeserve your righ: In your lena, give us the following information:

© Your name and account namber_

® Thedollar anoum of the

& Dest eae nd xl ou. you bonhe

you

‘You do not have to pay amy amount in question while we are investigating, but you
are:still obligated ta pay the parts of your bill that are not in question, While wo
investigate your question, we cannot report you as delinquent of lake any achon to
collect the ammount you question,

FINANCE CHARGES:Alihough the Bamk wus the Daily Bahance method 0 calculate
the finance charge on your MoneylinwOwerdrall Projection account (Uke tom "ODP"
or "OD" refors to Overdradi Protection), the Bank discloues the Average Dally Balance
on the periodic statemnond as an caster method for you w caboulate the finance

charge ‘The fin ho date advances ancl otlhor debits
wroposi io yur account ax! wil contin he balmca hs bean pid in il
To comp muluply the A ‘the Days in

Period times he Daily Periodic Race (as Hyted in the Accoum Summary secbon on
the front ofthe satcment) The Average Daily Balance is cakoulatod by adding the
balance for cach day of ube billing cycle, dhon dividing the wtal balance by the manber
of Days in the Billing Cydc. The daily balance os the balance for the day after
advances have boon added and payments or credits havo been suberactar plas or

tbat might b i Denne

Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 33 of 42

a(D) Bank

America’s Most Convenient Bank®

LUXURY HAUS LEONIA LLC
361 MAPLE STREET

STATEMENT OF ACCOUNT
Page: lof2
Statement Period: 302017

MOONACHIE NI 07074 Cust Ref #: 19-T- HH
Primary Account 4;

TD Business Premier Checking
LUXURY HAUS LEONIA LLC ‘Aoooutit i
ACCOUNT SUMMARY
Beginning Balance 58.71 Average Collected Balance 58.71

Annual Percentage Yield Earned 0.00%
Service Charges 30.00 Days in Period 30
Ending Balance 28.71

DAILY ACCOUNT ACTIVITY

Service Charges
POSTING DATE DESCRIPTION

4/28 MAINTENANCE FEE

AMOUNT
30.00

Subtotal: 30,00

DAILY BALANCE SUMMARY

DATE BALANCE

3/31 58.71
4/28 28.71

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Deposits FDIC ingured ! TID Bank, NA. | Equal Housing Lander @
Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 34 of 42

&

How to Balance your Account

1. Your ending balance shown on this

Begin by adjusting your account register

as follows: statement is:

Subtract any services charges shown
on this statement.

Subtract any automatic payments,
transfers or other electronic with-
drawals not previously recorded.

Add any interest earned if you have 3.
an interest-bearing account.

Add any automatic deposit or
overdraft line of credit.

4. List below the total amount of
withdrawals that do not appear on
this statement. Total the withdrawals
and enter on Line 4.

Review all withdrawals shown on this
statement and check them off in your
account register. 4

Follow instructions 2-5 to verify your

2. List below the amount of deposits or
credit transfers which do not appear
on this statement. Total the deposits
and enter on Line 2.

Subtotal by adding lines 1 and 2.

. Subtract Line 4 from 3. This adjusted
balance should equal your account

2of2

ending account balance. balance.
epee
DEPOSITS NOP DOLLARS CENTS WITHDRAWALS NOT] DOLLARS CENTS WITHDRAWALS NOT] DOLLARS. CENTS
‘ON STATEMENT ‘ON STATEMENT ‘ON STATEMENT
Total
Total Deposits Withdrawals
teas & a o

FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

Ifyou mood information about an electronic find transfer or if you believe there: is an
ororon your bank SEE Eee ee ee enc
ber listed onthe front of your

ststerem of write to:
TD Bank, N.A.. Deposit Gperations Dept, P.O. Bax 1377, Lewiston,
Maine 04243-1377
‘We must hear from you no later than sixty (60) calondar days aller wesent you the
firs) matomoni upon which the error or problem first ‘When contacting the
Bank, please explain as clearly as you can why you there is an cron ar wiry
mone information is needed. Please include:

® Your name and account sumber,

@ A description of the error or mansaction you are unsure ebous.

® Thedollar amour and dite of the suspected cme.
‘When making a verbal inquiry, the Back may ask that you seed ws your complaint in
Tr ct ncn c.ccuamat axon peenes porn
Wewill inv int and will oomect any error prompily, [fwertke
more than tert { ft basinces to-do this, ee will crodit your acooent [br the
amount you think is in crror, a0 that you havethe we of ihe mony dering the time it
Jakes 10 comphote ur investigation.
INTEREST NOTICE
Total anes ee yA lank ee Bx al be pee by Sone
ternal Revenus Service and Stale lax will be:
reported separately to you by the Bank.

FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
SUMMARY
in case of Errote of Questions About Your BIL:
[Cyc think your bill is wrong, oni you mon! more uninnation about a transaction on
your bill, arite ws af P.O, Bow 1377, Lewiston, Maume 04243-0377 as soon as
possible. We must hear Grom you no lator than siaty (60) days after we sent you the
FIRST bill om which the aroror problem appeared. ‘You can telophome us, but doing:
50 will not preserve your rights io your lotor, givews the following information:

® Your name and! account mamber .

® The dollar anount of the suspected enor.

® Desoribe the evor and oaplain, if you can, why you believethere is an oror

If you nead more information, describe the item you are undue aboat
Youdo net have to pay any amounl in question while we are investigating, bal you
are still obligated 10 pay the parts of your bill thal arenot in question. Whilewo
investigate your quesilon, we-cannot roport you as dolinquant or take any action to
collect the annournt pou «yucsticn
FINANCE CHARGES:A Ithough the Bank uses the Daily to calcula
the: fimace chargeca your fino'Chrortradt "oor"
or "OD" refers to Overdraft Protection), the Bank discloses tho Avorago Daily Balance
on ihe periodic statement as am cesier method Bor you to calculate the finance:
change The finanee charge begins to accruc on the date adwirces and! other dobins
reposted te your account and will conti i the balance has been paid in Full.
To compute the finance charge, multiply the Average Daily Ballance times the Days in
Period/ times the Daily Periodic Rate (as lated in the Account Suramary sectioa on
the from ofthe stalement). The Average Daily Balance is calculate by adding the
balance for cach day of the billing cycle, hen dividing the tots! balance by dhe number
oF Days im the Billing Cycle The daily balance is the balance for de day after
advances have beort adkled ane) paymumls or credits have boon subtracted plus or
minus any other ad] thai day, Thoreis oo gace
ane

tibet

Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 35 of 42

ii) Bank

America’s Most Convenient Bank® T STATEMENT OF ACCOUNT
LUXURY HAUS LEONIA LLC Page: 1of2
361 MAPLE STREET Statement Period: ‘oe 31 2017
MOONACHIE NJ 07074 Cust Ref #: 719-7 -tHHt

Primary Account #: a:

TD Business Premier Checking

LUXURY HAUS LEONIA LLC Account ii 73

ACCOUNT SUMMARY

Beginning Balance 28.71 Average Collected Balance 28.71
Interest Earned This Period 0.00
Service Charges 30.00 interest Paid Year-to-Date 0.00
Ending Balance -1.29 Annual Percentage Yield Earned 0.00%
Days in Period ot

Service Charges

POSTING DATE DESCRIPTION AMOUNT
05/31 MAINTENANCE FEE 30.00
Subtotal: 30.00

DATE BALANCE DATE BALANCE
04/30 28.71 05/31 -1.29

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Deposits FDIC Insured | TD Bank, N.A.| Equat Housing Lender Sy
Case 3:18-cv-01617-MEM

How to Balance your Account

Begin by adjusting your account register
as follows:

Subtract any services charges shown
on this statement.

Subtract any automatic payments,
transfers or other electronic with-
drawals not previously recorded.

Add any interest earned if you have
an interest-bearing account.

Add any automatic deposit or
overdraft line of credit.

Review all withdrawals shown on this
statement and check them off in your
account register.

Follow instructions 2-5 to verify your

Document 1-11 Filed 08/16/18 Page 36 of 42

2of2

Page:

1. Your ending balance shown on this
statement is:

_ List below the amount of deposits or
credit transfers which do not appear
on this statement. Total the deposits
and enter on Line 2.

no

3, Subtotal by adding lines | and 2,

. List below the total amount of
withdrawals that do not appear on
this statement. Total the withdrawals
and enter on Line 4.

bh

s, Subtract Line 4 from 3, This adjusted
balance should equal your account

ending account balance. balance.

FOR CONSUMER ACCOUNTSONLY IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

If you need information about an electronic fund transfer or if you beliewe there ia en
error on your bank statement or receipt retaling ta an alectronic fund tranafar,
telephone the benk immediately at the phone number listed on the front of your
statement or write to:

TD Sank, N.A., Deposit Operations Dept, P.O, Box 1377, Lewiston,
Maine 04243-1377
Wa must hear from you no later than sixty (60) calendar days after we sent you the
first statement upon which the error or problem first appeared. When contacting the
Bank, please explain as clearly as you can why you believe there Is an error or why
mora information is needed. Plaasa include:

- ‘Your name and account number.

: Adescription of the enor or transaction you aro unsure about,

: Tha doflar amount and date of the suspected error.
When making # verbal mquiry, tha Bank may ook that you sand ue your complaint in
writing within tan (10) business days alter the first telaphone call.
‘We will investigate your complaint and will comect any error promptly. ifwe take more
than ten (10) business days to de this, we will credit your account for the
amount you think is in error, a0 that you have [he use of the money during the lime ft
takes to complete our investigation,
INTERESTNOTICE
Total interest credited by tha Bank to you this year will be reported by the Bank to the
Interna! Revenue Service and State lax authorities, The amount to be reported will be
reported gaparately to you by the Bank.

FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
SUMMARY
in case of Errors or Questions About Your Bull

Ifyou thik your bill is wrong, or if you need information about a ion on
your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
possible. We must hear from you no later [han sixty (60) days alter wa sent you tha:
FIRST bill on which the error or problam appeared. You can telephone ue, but coing
80 Will nol preserve your rights, In your better, give us the fofowing infanmation;

- Your name and account number.

: ‘The dofar amount of the suspected arrar.

: Deserbe the ecror and explain, if you can, why you baliewe there is an error.

Mf you need more information, deacribe the ftom you are unsure about,

You do not have to pay any amount in quesiion white we are investigating, but you
ere sil obligated to pay the pests of your bill thal aro not in question. While we
investigate your question, we cannal report you aa delinquent of take any action bo
cobect the amount you question,
FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
the finance charge on your MoneylinesGverdraft Protection account (the tam “OOP*
or ‘OD* refers to Overdrat Protection), tha Bank discoses the Average Daly Balance
on the periodic statement as an aseler method for you to calculate the finance
charge. The finance charge begins to accrue on the date advances and other debits
are posted lo your account and will continue until the balance has been paid in full
To compute the Gnance change, multiply the Average Dady Balance times the Days in
Porod times Ihe Dally Pestodic Rate (aa listed in the Account Summary section on
the front of the stutement}. The Average Daily Balance is calculated by adding tha
balance for each day of the billing cyclo, then dividing Ihe tole! balance by the number
of Days in the Billing Cycia. The daily balance is the balance for the day afer
advances have been added and payments or credits have been subtracted plus or
minus any olher adjustments that might have occurred that day. There is mo grace
period dunng which no finance change scones. Finance charge adjustmenis ara
incided in your total finance change
Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 37 of 42

i) Bank

America’s Most Convenient Bank® cL STATEMENT OF ACCOUNT
LUXURY HAUS LEONIA LLC Page: 1 of 2
361 MAPLE STREET Statement Period: Jun 04 2017-Jun 30 2017
MOONACHIE NJ 07074 Cust Ref #:
Primary Account #: 73
TD Business Premier Checking
LUXURY HAUS LEONIA LLC Account m.
ACCOUNT SUMMARY a oe . _
Beginning Balance “1.29 Average Collected Balance -1.29
Interest Earned This Period 0.00
Service Charges 30.00 Interest Paid Year-to-Date 0.00
Ending Balance -31.29 Annual Percentage Yield Earned 0.00%
Days in Period 30

DAILY ACCOUNT ACTIVITY
Service Charges

POSTING DATE DESCRIPTION AMOUNT
06/30 MAINTENANCE FEE 30.00
Subtotal: 30.00

DAILY BALANCE SUMMARY _ ee
DATE BALANCE DATE BALANCE

05/31 -1.29 06/30 -31.29

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Deposits FDIC insured | TD Bank, M.A. | Equal Housing Lender =
Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 38 of 42

How to Balance your Account wars

Page:

Begin by adjusting your account register
as follows:

1. Your ending balance shown on this
statement is:

Subtract any services charges shown

on this statement. 9, List below the amount of deposits or

credit transfers which do not appear

Subtract any automatic payments, on this statement. Total the deposits

transfers or other electronic with-
drawals not previously recorded.

Add any interest earned if you have
an interest-bearing account.

4 List below the total amount of
withdrawals that do not appear on
this statement. Total the withdrawals
and enter on Line 4,

Add any automatic deposit or
overdraft line of credit.

Review all withdrawals shown on this
statement and check them off in your
account register.

Follow instructions 2-5 to verify your

ending account balance. balance.

and enter on Line 2.

3, Subtotal by adding lines 1 and 2.

5. Subtract Line 4 from 3. This adjusted
balance should equal your account

FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

If you need information about an electronic fund transfer or if you bollewe thara is an
efor on your bank statement or receipt relating to an electonic fund transfer,
talaphone the bank immediately at the phone number listed an the front of your
Slatement or write to:

TO Bank, N.A,, Deposit Operations Dept, P.O. Box 1377, Lewiston,
Maine 04243-1377
We mus! Paar from you ne later than soy (60) calendar days aflor we sent you the
first statement upon which the enor or problem first appears. When contecting the
Bank, please explain as clearly as you can why you believe there is an enor or why
more information is needed. Please include:

Your name and account number,

of the error or yOu are Unaure about.
The dollar amount and date of the suspected amor.
When making @ verbal inquiry, the Bank may ask Ehat you send us your compégint iin
walling within ten (10) business days afler tha first lalaphone call
We wail investigate your complaint and will correct any error promptiy. if wetake more
than tan (10) business days ts do this, we will credit your eccounl for the
amount you think is in error, so that you have the use of the money during the ma tt
‘takes to complete our investigation.
INTEREST NOTICE
Total interest credited by the Bank fo you this year will ba reported by tne Bank to the
Intemal Revenue Service and State tax authorities, The amount bo be reported will be
reported separately fo you by the Bank.

BILLING RIGHTS

FOR CONSUMER LOAN ACCOUNTS ONLY
SUMMARY
in case of Errore or Questions About Your Bill:

If you think your bal is wrong, or if you need more information about a transaction on
your bill, write us at P.O. Box 1377, Lewiston, Maing 04243-1377 a9 soon as
posalble. We mus! hear from you no feter than sixty (60) days after we send you the
FIRST bal on which the enor or problem appeared. You can telaphone wa, but doing
go will not preserve your rights. In your fetter, give ws the following information:

- Your name and account number.

+ The dollar amount of the suspected orror,

+ Desoribo tha oror and oxplain, if you can, why you believe there is an error.

Hf you need more Information, describe the tem you are unsure about,

You do nol have to pay any amount in question while we are investigating, but you
Bre stil btigated to pay ihe parts of your bil that are hot in question. While we
investigate your question, we cannot report you as delinquent or lake any action to
collect tha amount you question.
FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
the finance charge an your t Protection acount (fhe tem “ODP*
or "OD" refers to Overdraft Protection), the Gank disckises the Average Daily Balance
on the periodic statament as an amsier method for you to calculate: the finance
charge. The finance charge begins to acorue on the date advances and other dabite
are posted to your socount mind will continue until the balance has been paid in full,
To compute the finance charge, muitiply the Average Oaily Balance limes the Daya in
Porad times the Daily Periodic Rabe (as listed In the Account Summary section oy
the frant of the slalement), The Average Oally Balance is calculated by adding tho
balance for auch day of the billing eye, then dividing the total balanes by lhe number
of Days in the Billing Cycle. The dally balance 4 the balance for the day after
advances have been added ard peyrmenta or credits have beam sublracted plus or
minus any other adjustments thal might have occurred that day. There iano grace
period during which no finance charge accrues, Finance chemge adjustments are
Included in your total finance charge.
Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 39 of 42

Bank

America’s Most Convenient Bank® T STATEMENT OF ACCOUNT
LUXURY HAUS LEONIA LLC Page: 1of2
361 MAPLE STREET Statement Period: ae’ 31 2017
MOONACHIE NJ 07074 Cust Ref #: 719-7 HHH
Primary Account #: 3
TD Business Premier Checking
LUXURY HAUS LEONIA LLC Account ‘es

New benefit for TD Business Premier Checking Customers

TD Business Premier Checking Customers with an approved Small Business Line of Credit of $10,000 or more now qualify to
waive the TD Business Premier Checking monthly maintenance fee. To find out more, stop by your nearest TD Bank or contact
your small business relationship manager.

ACCOUNT SUMMARY ee

Beginning Balance -31.29 Average Collected Balance -31.29
Interest Earned This Period 0.00
Service Charges 30.00 Interest Paid Year-to-Date 0.00
Ending Balance -61.29 Annual Percentage Yield Earned 0.00%
Days in Period 31

DAILY ACCOUNT ACTIVITY

Service Charges

POSTING DATE DESCRIPTION AMOUNT

07/31 MAINTENANCE FEE 30.00
Subtotal: 30.00

DAILY BALANCE SUMMARY _

DATE BALANCE DATE BALANCE

06/30 -31.29 07/31 -61.29

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Deposits FDIC Insured | TO Bank, N.A_ | Equal Housing Lender ma
Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 40 of 42

How to Balance your Account Ke

Page:

Begin by adjusting your account register , Your ending balance shown on this

as follows: statement is:
» Subtract any services charges shown
on this statement. 2, List below the amount of deposits or
. credit transfers which do not appear
Subtract any automatic paymeats, on this statement. Total the deposits

transfers or other electronic with-
drawals not previously recorded,

Add any interest earned if you have
an interest-bearing account.

and enter on Line 2.
3, Subtotal by adding lines 1 and 2.

4. List below the total amount of

ee 7 withdrawals that do not appear on
this statement. Total the withdrawals

Review all withdrawals shown on this and enter on Line 4.

statement and check them off in your

BCOOMNL CRSA 5, Subtract Line 4 from 3. This adjusted

Follow instructions 2-5 to verify your balance should equal your account

ending account balance. balance.

FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

If you need information about an electronic fund transier or f you bellove there is an
enor on your bank statoment or receipt relating to en efectronic fund transfor,
telephone the bank immediately at the phone number fisted on the front af your
latement of write to

TD Bank, N.A, Deposit Operations Dept, P.O, Box 1377, Lewiston,
Maine 04243-1377
‘We must hear from you no later then sixty (60) calendar days aftar wa sent you the
first statement upon which the error or problem first appeared. When contacting tha
Bank, please explain as clearly as you can why you bellave there is an errorar why
mare information ia needed, Plaase incdude:

+ Your name and account rumibesr

* Adescnptien of the error or tranaaction you are unsure about.

The dollar amount and date of the suspected error.

When malang « verbal inquiry, {he Bank may.ask that you send us your complaint in
writing within ten (10) business days after the first telephone call.
‘We will investigate your compleint and will correct any oror promptly. f'welake more
than tan (10) business days to do this, we will credit your account for the
amount you think ia in error, so that you have the use of fhe money during the lime it
takes fo compete our investigation.
INTEREST NOTICE
Total Interest credited by the Bank to you this year will be reported by the Bank to the
intemal Revenue Service and Stale tax authorities, The amount to be reperted will be:
reported separately io you by the Bank.

FOR CONSUMER LOAN ACCOUNTS ONLY BILLINGRIGHTS
SUMMARY

In case of Errors or Greations About Your Bill:

If you think your bili is wrong, or H you need more Information about a transaction on
your bill, write us at P.O. Bax 1377, Lewislon, Maine 04243-1377 as acon aa
possible. We must hear fom you no jater than sixty (60) days efter we sent you the
FIRST bill on whieh the ecor or probiern appeared. You can telephone us, but doing
so will not proserve your rights. in your letter, give us the folowing information:

- Deseribe the oror ard explain, Hy ca Col a Pane ras fe a ees
Ifyou need more infanmation, fem you ara unsure about.

ousde ticket te ack apeeaiams acca but you
ara atl obligated ta pay the parts of your bil thet are ned in question. While we
investigate your question, we cannot report you 2s delinquent or lake any action to
‘collect the amount you question,
FINANCE CHARGES: Although the Bank uses the Daify Balance mathod to calaulate
the finance charge on your Monayline/Qverdraft Protection aacount (the term "ODP"
or "OD" refers to Overdraft Protection), the Bank discioses the Average Dally Balance
on the periodic statement sean easier method for you to calculate the finance
charge. The finanes changes bagins to accrue on the date advances and other debits
808 posted to your account and will confinue until the balance has ben praid in full
To compute the finance charge, multiply tha Average Daily Balanca times the Days in
Period times the Daily Periodic Rate (as listed in the Account Summary section on
the font of the statement). The Average Daly Balance is calculated by adding Byo
balance for wach day of the billing cycle, then dividing the tots! balance by te number
of Days in the Biling Cycle. The daily balanos is Ihe balance for the day efler
advances have been added and payments or credits have been sublracted plus or
minua any other adi that that day, There 6 no grace
period during which ne finance charge scores. Finanos charge adjustments are
included in your total finanoe charge.

Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 41 of 42

Bank

America’s Most C ent Bank® 0 STATEMENT OF ACCOUNT

LUXURY HAUS LEONIA LLC Page: 1of2

361 MAPLE STREET Statement Period: Aug 01 2017-Aug 01 2017
MOONACHIE NJ O7074 Cust Ref #: 719-0-fHHF
Primary Account #: 73

TD Business Premier Checking

LUXURY HAUS LEONIA LLC Account + +7;
ACCOUNT SUMMARY ns /
Beginning Balance -61.29 Average Collected Balance 0.00
Other Credits 61.29 Interest Earned This Period 0.00
Interest Paid Year-to-Date 0.00
Ending Balance 0.00 Annual Percentage Yield Earned 0.00%
Days in Period 4

DAILY ACCOUNT ACTIVITY

Other Credits
POSTING DATE DESCRIPTION AMOUNT
08/01 CREDIT-ACCT CLOSED, OD Chargeoff 61.29
ICH: PLS call our recovery dept at 800-354-9769

Subtotal: 61.29
DAILY BALANCE SUMMARY . oe
DATE BALANCE DATE BALANCE
07/31 -61.29 o8/01 0.00

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Depoatts FDIG Insured | TD Bank, 4.A | Equal Housing Lander we
Case 3:18-cv-01617-MEM Document 1-11 Filed 08/16/18 Page 42 of 42

How to Balance your Account

Begin by adjusting your account register , Your ending balance shown on this

as follows: statement is:

Subtract any services charges shown
on this statement.

Subtract any automatic payments,
transfers or other electronic with-
drawals not previously recorded.

Add any interest camed if you have
an interest-bearing account.

we

zB

Add any automatic deposit or
overdraft line of credit,

+ Review all withdrawals shown on this
statement and check them off in your
account register.

wn

Follow instructions 2-5 to verify your

ending account balance. balance,

List below the amount of deposits or
credit transfers which do not appear
on this statement. Total the deposits
and enter on Line 2.

Subtotal by adding lines | and 2.

List below the total amount of
withdrawals that do not appear on
this statement. Total the withdrawals
and enter on Line 4.

Subtract Line 4 from 3. This adjusted
balance should equal your account

2of2

Page:

FOR CONSUMER ACCOUNTSONLY IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:
Ifyou peed information about an electronic fund transfer or if you believe there is an
error on your bank statement or receipt relating to an electronic fund transfer,
tetaphone the bank immediately at tre phone number fisted on the front of your
@atemant or write to:
TD Bank, N.A., Deposit Operations Dapt, P.O. Box 1377, Lewiston,
Maine 04243-1377
We must hear from you no later than ainty (00) calendar days afer we sent you the
first sletement upen which the error or problem first appeared. When cankacting tha
Bank, please explain 2s clearly as you can why you believe there fs an enor or why
more information is nacded. Please include:
‘Your name and account number,

+ Adeseription of the error or transaction you are unsure about.

+ The dollar amount and date of the suspected arror.
When making a verbat inquiry, ihe Bank may ak that you send us your complaint in
writing within tan (10) business days after the first telephone call,
We will investigate your complaint ang will comect any error promptly, if welake more
than ter (10) business days to do this, we will cred’. your eccount for tha
ammount you think is in error, so that you have the use of tha monay dung the time it
takes [o complete our investigation,
INTERESTNOTICE
Total interest credited by the Sank to you thes yoar will be reported by the Bank to the
Internal Revenue Servies and State tax authorties. Thea amaunt to be reported wall be
reported separately to you by Ihe Bank.

BILLING RIGHTS

FOR CONSUMER LOAN ACCOUNTS ONLY
SUMMARY
in case of Errors of Quashions About Your Bil:
Hf you think your ill is wrong, or if you need more information about a transaction on:
your bill, write us al P.O. Box 1377, Lewiston, Maine (M243-1377 aa soon aa
possible. Wie must hear from you no hater then sixty (60) days afer we sant you the
FIRST bill on which the euror or problern appeared You can telephone us, but doing
80 will not preserve your nights. In your letter, give us the following intonation:
» Your mane and acdourd number.
The dollar amount of fhe suspected orror.

(Describe the error and explain, if you een, why you believe {here ia an ermor.

if you hood more information, dewcribe the item you aro unsure about,
‘You do nol have fo pay any amount in question while we ara invesligating, bul you
are ofil obligated to pay the parts of your bill that are nol in queetion. While we
investigale your question, i report you ae alt or take any action to
collect tha amount you question.
FINANCE CHARGES: Atough the Bank uses the Daily Balance methodt to calculate
tha finance charge on your Moneyline/Gverdraft Protection acanunt (ihe term "ODP"
of "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
on the periodic slalament as an aasier method for you to calculate the finance
charge. The finance charge begins to accrue on the date advances and other debits
are posted fo your account and will continue until tha balance haa been paid in full.
To compute the finance charge, multiply the Average Daily Balance times the Days in
Peorod times the Daily Periodic Rede (as listed in the Accounl Summary secon on
‘the front of the elatemant) Tha Average Dally Balance is calculated by adding the
bakinor for eich day of the billing cycke, thon dividing the total balanee by the number
of Days in the Biting Cycle. The daily balance ia the balance for the day after
advances have bean added and payments or credils have bewn sublracted plus oF
minus any other adjustmenta thet might have occurred thei day There ia no grace
perlog during which no finance charge accrues. Finance charge agjusiments are
induced in your total finance change.

